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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA

In re: Jose de Jesus Basilio
      Iraida Fernandez                          Case No. 16-21346-RAM
                                                Chapter 13

                     Debtor(s).       /

            EX-PARTE MOTION TO APPROVE MORTGAGE MODIFICATION
                  AGREEMENT WITH OCWEN LOAN SERVICING

       COMES NOW, Jose de Jesus Basilio and Iraida Fernandez, the Debtors, by and

through undersigned counsel and request that the Court enter an Order approving the

Permanent Modification Agreement with Ocwen Loan Servicing (“Lender”) and states as

follows:

       1.     The Debtors filed for relief under Chapter 13 of the Bankruptcy Code on

              August 17, 2016.

       2.     The Debtor received a trial modification of their loan with Ocwen Loan

              Servicing for their real property located at 300 NW 107th Ave Apt 101 Miami,

              FL 33172.

       3.     Attached is a copy of the Agreement entered into between the parties

              (with all personal identifiers redacted).

       4.      Pursuant to the terms of the permanent modification agreement, the debtor

               will commence payments directly to the Lender effective August 1, 2017.

       5.      The Debtors seek approval of their loan modification and submits that no

               parties in interest will be prejudiced by the requested relief.




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       WHEREFORE, the Debtors request the Motion to Approve Permanent Mortgage

Modification Agreement with Ocwen Loan Servicing(“Lender”) be granted and for such other

and further relief as this Court deems proper.



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the Motion to Approve Mortgage
Modification Agreement with Ocwen Loan servicing, was sent this 14th day of August, 2017,
via CM/ECF to all parties eligible to receive electronic notice and to all parties on the service
list below.

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Special Service List:

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1661 Worthington Rd, Ste 100
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